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                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS


KRS PROPERTIES, LLC, AND
WEST WHARTON HOSPITAL DISTRICT
Plaintiff
v.                                                             4:24-cv-00337
UNITED STATES DEPARTMENT OF HEALTH &                           Civil Action No.
HUMAN SERVICES, CENTERS FOR MEDICARE &
MEDICAID SERVICES
Defendant

       CERTIFICATE OF INTERESTED PERSONS/DISCLOSURE STATEMENT
                               (This form also satisfies Fed. R. Civ. P. 7.1)

Pursuant to Fed. R. Civ. P. 7.1 and LR 3.1(c), LR 3.2(e), LR 7.4, LR 81.1(a)(4)(D), and LR 81.2,
KRS Properties, LLC, and West Wharton Hospital District



provides the following information:
       For a nongovernmental corporate party, the name(s) of its parent corporation and any
publicly held corporation that owns 10% or more of its stock (if none, state "None"):
*Please separate names with a comma. Only text visible within box will print.

KRS Properties LLC, Remarkable Healthcare of Fort Worth, West Wharton Hospital District




        A complete list of all persons, associations of persons, firms, partnerships, corporations,
guarantors, insurers, affiliates, parent or subsidiary corporations, or other legal entities that are
financially interested in the outcome of the case:
*Please separate names with a comma. Only text visible within box will print.

 KRS Properties LLC, Remarkable Healthcare of Fort Worth, West Wharton Hospital District,
 United States Department of Health and Human Services, Centers for Medicare and Medicaid
 Services, Texas Health and Human Services Commission
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                                                              Date:                 04/16/2024
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Documents => Certificate of Interested Persons/Disclosure Statement.
